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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                         :    Date of Notice:
                                                 :    February 17, 2021
vs.                                              :
                                                 :    Criminal No. 19-414-2 and 20-104-2
BAHAA DAWARA #69940-066                          :
FDC Philadelphia                                 :
P.O. Box 562                                     :
Philadelphia, PA 19105                           :
FEDERAL CUSTODY                                  :

                                             NOTICE

               TAKE NOTICE that the above-entitled case has been set for CHANGE OF
PLEA in the United States District Court, United States Courthouse, 601 Market Street,
Philadelphia, Pennsylvania, on Thursday, February 25, 2021, at 9:00 A.M. before the
Honorable Juan R. Sánchez, in Courtroom 6A.

           ALL DEFENDANTS ARE DIRECTED TO REPORT TO THE
COURTROOM ON THE DATE AND TIME STATED ABOVE. IF A DEFENDANT
FAILS TO APPEAR AS DIRECTED, THE BAIL MAY BE FORFEITED AND A BENCH
WARRANT ISSUED.

              If a defendant is presently in jail, the defendant or his counsel shall notify the
undersigned in writing immediately so that the necessary procedures can be taken to have the
defendant present in the courtroom.

                                                  Very truly yours,

                                                  /s/Nancy E. DeLisle

                                                  Nancy E. DeLisle
                                                  Deputy Clerk to Chief Judge Sánchez
                                                  267-299-7789

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NO INTERPRETER REQUIRED

                                 Notice to:
                                      Defendant                              (via MAIL)
                                      Gerald Stein, Esq.  (via EMAIL)
                                      Jeanine Linehan, AUSA                  (via EMAIL)
                                      U.S. Marshal                           (via EMAIL)
                                      Probation Office                       (via EMAIL)
                                      Pretrial Services                      (via EMAIL)
                                      Crystal Wardlaw                        (via EMAIL)
